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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY
                           CAMDEN VICINAGE



 AARON SIEGEL, JASON COOK,
 JOSEPH DELUCA, NICOLE CUOZZO,                    Hon. Karen M. Williams, U.S.D.J.
 TIMOTHY VARGA, CHRISTOPHER                       Hon. Ann Marie Donio, U.S.M.J.
 STAMOS, KIM HENRY, AND
 ASSOCIATION OF NEW JERSEY RIFLE                  Docket No. 22-CV-7463
 AND PISTOL CLUBS, INC.,

       Plaintiffs,

      v.

 MATTHEW J. PLATKIN, in his official
 capacity as Attorney General of the State of
 New Jersey, PATRICK J. CALLAHAN, in
 his official capacity as Superintendent of the
 New Jersey Division of State Police,

       Defendants.



 RONALD KOONS; NICHOLAS           Hon. Rene Marie Bumb, U.S.D.J.
 GAUDIO; JEFFREY M. MULLER;       Hon. Elizabeth A. Pascal, U.S.M.J.
 SECOND AMENDMENT FOUNDATION;
 FIREARMS POLICY COALITION, INC.; Docket No. 22-CV-7464
 COALITION OF NEW JERSEY
 FIREARM OWNERS; and NEW JERSEY
 SECOND AMENDMENT SOCIETY,
      Plaintiffs,
 v.
 WILLIAM REYNOLDS in his official
 capacity as the Prosecutor of Atlantic
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 County, New Jersey; GRACE C.
 MACAULAY in her official capacity as the
 Prosecutor of Camden County, New Jersey;
 ANNEMARIE TAGGART in her official
 capacity as the Prosecutor of Sussex
 County, New Jersey; MATTHEW J.
 PLATKIN, in his official capacity as
 Attorney General of the State of New
 Jersey; and PATRICK CALLAHAN, in his
 official capacity as Superintendent of the
 New Jersey State Police,
    Defendants.


 ________________________________________________________________

              BRIEF IN SUPPORT OF STATE DEFENDANTS’
              EXPEDITED MOTION FOR CONSOLIDATION
 ________________________________________________________________

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                          PRELIMINARY STATEMENT

       Defendants Matthew J. Platkin, Attorney General of New Jersey and Patrick

 Callahan, Superintendent of the New Jersey State Police (“State Defendants”) seek

 an expedited order under Federal Rule of Civil Procedure 42(a) consolidating the

 above captioned actions. See also L. Civ. R. 42.1 (requiring such a motion to be filed

 “in the case bearing the earliest docket number”). Both actions, filed within hours of

 one another, challenge the enactment of P.L. 2022 c.131, A4769/S3214, signed into

 law by Governor Phil Murphy on December 22, 2022. This legislation makes

 necessary reforms to New Jersey’s concealed carry permitting regime to conform to

 New York State Rifle & Pistol Association v. Bruen, 142 S. Ct. 2111 (2022), and to

 ensure the safety of New Jerseyans as the availability of concealed carry permits

 expands across the state.

       Immediate consolidation of these actions, filed in the same court and vicinage

 on the same day, both seeking emergency injunctive relief, is appropriate. The first-

 filed case, Siegel v. Platkin, No. 22-cv-7463, fully encompasses those claims made

 in the other, Koons v. Reynolds, No. 22-cv-7464. As such, both cases involve

 common questions of law and fact. Further, the Plaintiffs in each action consist of

 both firearms owners and advocacy groups, and are thus similarly situated. The

 Defendants in Siegel, the Attorney General and Superintendent of State Police, are

 also named in Koons, along with various county prosecutors, who fall under the

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 supervision of the Attorney General. Consolidation of these matters would

 economize the court’s and the parties’ resources and avoid the possibility of

 inconsistent judgments. There is no risk of prejudicing any party or claim.

       Because both sets of Plaintiffs have indicated intent to seek emergency relief

 as early as today, and because responding to those applications separately would

 implicate the very concerns raised in this motion—duplication of resources, loss of

 judicial economy, and risk of inconsistent judgments, State Defendants respectfully

 request expedited consideration of this motion to consolidate.

          STATEMENT OF FACTS AND PROCEDURAL HISTORY

       On December 22, 2022, Governor Phil Murphy signed into law legislation

 addressing the concealed carry of firearms in New Jersey. Chapter 131 updates the

 concealed carry permitting requirements and disqualifiers in N.J.S.A. 2C:58-3 and -

 4, deletes the “justifiable need” standard invalidated in Bruen, and implements other

 safeguards to ensure that only “law abiding” citizens—the only group for whom

 Second Amendment protections extend—receive permits. See Chapter 131 §§ 2-3;

 Bruen, 142 S. Ct. at 2122; District of Columbia v. Heller, 554 U.S. 570, 626 (2008).

 That includes background checks, electronic fingerprinting, character references,

 and training courses—conditions like those endorsed in Bruen itself. See Bruen, 142

 S. Ct. at 2138 n.9.



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       Additionally, the legislation enumerates a list of “sensitive places,” as

 contemplated by both Heller and Bruen, where prohibitions on the carrying of

 firearms are deemed “settled” and historically supported. Bruen 142 S. Ct. at 2133;

 see also Heller, 554 U.S. at 626. The legislation also provides for how a concealed

 handgun is to be safely carried in public. See Chapter 131 §§ 3, 5. And it expands

 exemptions from certain requirements for current or retired law enforcement

 officers, prosecutors, or court personnel. See id. § 8.

       Both the Siegel and Koons Plaintiffs filed suit within hours of the bill’s

 enactment. See Siegel, No. 22-cv-7463; Koons, No. 22-cv-7464. The Siegel

 Plaintiffs challenge a broad swath of the new provisions, including the new

 permitting requirements and most of the sensitive places, as well as long-standing

 regulations that far pre-date enactment of the new legislation. This includes Sections

 7(a)(6) (carrying within 100 feet of a permitted public gathering), Sections 7(a)(7)-

 (9) (schools, colleges, other educational facilities, child care facilities, nursery

 schools, as well as zoos), Section 7(a)(10) (parks, beaches, playgrounds), Section

 7(a)(11) (youth sporting events), Section 7(a)(12) (libraries and museums), Section

 7(a)(15) (places that serve alcohol), Section 7(a)(17) (entertainment venues

 including stadiums, racetracks, and arenas), Section 7(a)(18) (casinos), Section

 7(a)(20) (airport or public transit hub), Sections 7(a)(21)-(22) (healthcare facilities,

 including those providing mental health or addiction treatment), Section 7(a)(23) (a

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 public location being used for movie or television filming), Section 7(a)(24) (private

 property, unless expressly permitted by the property owner). See Seigel Compl., Dkt.

 1, at 47-50. They further challenge Section 7(b) of the new legislation, regarding

 safe storage of firearms in vehicles, and Section 4, requiring permit holders to obtain

 liability insurance to cover loss for bodily injury, death, or property damage related

 to ownership or use of their firearm. Id. at 51. They challenge the new permitting

 requirements and exemptions. Id. at 51-52.

       The Koons Plaintiffs challenge a narrower subset of Chapter 131’s provisions,

 all of which are also challenged by the Siegel Plaintiffs. Specifically, they challenge

 Sections 7(a)(12) (libraries and museums), (15) (places where alcohol is served),

 (17) (entertainment venues) and (24) (private property default rule), as well as the

 vehicle safe storage requirements of Section 7(b)(1). See Koons Compl. at 13. While

 the Koons Plaintiffs challenge these provisions only under the Second and

 Fourteenth Amendments, the Siegel Plaintiffs also challenge some of these

 provisions under the First Amendment, Due Process Clause, and the Equal

 Protection Clause. See Siegel Compl., Dkt. 1, at 48-58; Koons Compl. at 22. Both

 seek declaratory and injunctive relief. Id. In short, the Siegel Complaint fully

 encapsulates those claims made in the Koons Complaint.

       Both suits are in preliminary stages and at an identical procedural posture.

 This morning, the Siegel Plaintiffs indicated to this Court an intent to file a motion

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 for a temporary restraining order and preliminary injunction, and this Court has set

 a scheduling order. See Siegel, Dkt. 4, 6 (Dec. 23, 2022). This afternoon, the Koons

 Plaintiffs similarly indicated intent to file a motion for a temporary restraining order

 and preliminary injunction and proposed a similar schedule to what this Court has

 already ordered in Siegel.1 See Koons, Dkt. 8 (Dec. 23, 2022).

       The parties in each action are similarly situated. The Siegel Plaintiffs include

 individuals who wish to carry their firearms in places where concealed carry is

 prohibited, and a Second Amendment advocacy group, Association of New Jersey

 Rifle & Pistol Clubs, Inc. Likewise, the Koons plaintiffs are individuals who wish to

 carry in the prohibited places, and several Second Amendment interest groups,

 including the Firearms Policy Coalition, the Coalition of New Jersey Firearm

 Owners, and the New Jersey Second Amendment Society. Likewise, Defendants

 Matthew J. Platkin, Attorney General of New Jersey, and Patrick Callahan,

 Superintendent of New Jersey State Police, are named in each suit in their official

 capacities. The Koons complaint further lists various county prosecutors, who are

 subject to the supervision of the Attorney General.




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  While State Defendants do not believe they have been served in Koons (and State
 offices were closed today for inclement weather), counsel received by e-mail a
 copy of the letter from the Koons Plaintiffs at 4:41 PM.
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                                      ARGUMENT

              THESE CASES SHOULD BE CONSOLIDATED TO
              AVOID DUPLICATION OF RESOURCES AND
              RISK OF INCONSISTENT JUDGMENTS.

       These cases should be consolidated under Federal Rule of Civil Procedure

 42(a), which permits consolidation of actions that “involve a common question or

 law or fact.” See also D.N.J. L. Civ. R. 42.1 (requiring such a motion to be filed “in

 the case bearing the earliest docket number”). Rule 42(a) gives courts “broad power

 to consolidate cases that share common question[s] of law or fact.” A.S. v.

 SmithKline Beecham Corp., 769 F.3d 204, 212 (3d Cir. 2014) (alteration in original)

 (internal quotation marks omitted). “Consolidation is appropriate to avoid

 unnecessary costs and/or delay, and to promote judicial economy.” Liberty Lincoln

 Mercury, Inc. v. Ford Marketing Corp., 149 F.R.D. 65, 80-81 (D.N.J. 1993) (internal

 citations omitted). Rule 42(a) “was designed and intended to encourage such

 consolidation where possible.” United States v. Knauer, 149 F.2d 519, 520 (7th Cir.

 1945), aff'd, 328 U.S. 654 (1946).

       Consolidation is also appropriate to mitigate “the risk of inconsistent

 adjudications of common factual and legal issues, the burden on the parties,

 witnesses, lawsuits, the length of time required to conclude multiple lawsuits as

 against a single one, and the relative expense to all concerned of the single-trial,

 multiple-trial alternatives.” In re Consolidated Parlodel Sec. Litig., 182 F.R.D. 441,

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 444 (D.N.J. 1998). The rule “seeks to avoid overlapping duplication in motion

 practice, pretrial and trial procedures occasioned by competing counsel representing

 different Plaintiffs.” Barcelo v. Brown, 78 F.R.D. 531, 536 (D.P.R. 1978).

 Consolidation is appropriate “even where certain defendants are named in only one

 of the complaints.” Jacobs v. Castillo, 612 F. Supp. 2d 369, 373 (S.D.N.Y. 2009).

 Further, “[c]onsent of the parties is not required; rather it is the court’s decision”

 whether consolidation serves the balance of interests. Vaccaro v. Moore-

 McCormack Lines, Inc., 64 F.R.D. 395, 397 (S.D.N.Y. 1974).

       Here, consolidation is appropriate because both cases arise out of the same

 facts and law. See SmithKline Beecham, 769 F.3d at 212. The first-filed case (Siegel)

 fully encompasses the claims raised in the second-filed complaint (Koons). While

 the Siegel Plaintiffs challenge numerous other provisions of Chapter 131, their

 Second Amendment claims as to Section 7(a)(12) (libraries and museums), (15)

 (places that serve alcohol and where alcohol is consumed on premises), (17)

 (entertainment facilities), (24) (private property default rule) and Section 7(b)(1)

 (vehicle regulations) are identical to the claims against these provisions advanced by

 the Koons Plaintiffs. The Koons Plaintiffs advance no other claims that the Siegel

 Plaintiffs do not allege.

       Moreover, Plaintiffs in both cases are gun owners and firearm advocacy

 groups who have similar interest in challenging the law’s restrictions. The cases are

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 likely to involve the same legal arguments and historical evidence under Bruen’s

 history-based inquiry. Importantly, both sets of plaintiffs seek an TRO and PI against

 enforcement of the new law, and wish to proceed on a similar schedule.

 Consolidation will “avoid overlapping duplication in motion practice, pretrial and

 trial procedures,” Barcelo, 78 F.R.D. at 536, especially since the cases are both at

 identical, nascent procedural stages. After all, because the Siegel claims encompass

 the Koons ones, many of the legal arguments would be virtually identical. Thus, the

 “the burden on the parties [and] witnesses,” In re Consolidated Parlodel Sec. Litig.,

 182 F.R.D. at 444, and on judicial resources, Liberty Lincoln Mercury, 149 F.R.D.

 at 80-81, will be reduced if the cases proceed together.

       Conversely, adjudicating the two matters separately would waste both parties’

 and the court’s resources in briefing and evaluating nearly identical claims. Further,

 consolidation would avoid the risk that two courts could render inconsistent

 judgments on identical challenges to identical provisions, a result that would cause

 confusion amongst the parties and the public, and reduce confidence in the judicial

 system. In short, consolidation is likely to be convenient and efficient for all parties

 and the court without prejudicing any party or claim.




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                                 CONCLUSION

       The expedited motion for consolidation should be granted, and Koons v.

 Reynolds, No. 22-cv-07464, should be consolidated into Siegel v. Platkin, No. 22-

 cv-7463 pursuant to Fed. R. Civ. P. 42(a) and Local Rule 42.1.

                                Respectfully submitted,

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 Dated: December 23, 2022




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